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                                                                                   R FRK: OFFICE U.S.DIST.COURT
                                                                                            AT ROANOKE,VA
                      IN T H E U N ITE D STATE S D ISTR ICT C O U R T                             rL:(.?
                                                                                                       -17
                                                                                                         )
                     FO R TH E W E STER N DISTR ICT O F W R G IN IA                        JUL 14            12
                                   R O A N O K E D IV ISIO N
                                                                                      JULIA C '      -â(,JLERK
                                                                                     BY;
SEA N A NT O N IO R O BER TSO N ,                                                           DE       CLERK
                                                     C rim inalA ction N o.7:10-cr-00054
       Petitioner,

                                                     M E M O R AN D U M O PIN ION

UN ITED STA TES,
                                                     By:Sam uelG .W ilson
       R espondent.                                  U nited States D istrictJudge


       Petitioner Sean A ntonio Robertson,a federalinm ate proceeding pro se,tiled a m otion to

vacate,setaside,orcorrectsentence,pursuantto28U.S.C.j2255(2006),arguingthatthe
advice given to him by hisattorney in regards to tw o offered pleasam ounted to ineffective

assistance ofcounsel. By conditionalfiling order,entered June 26,2012,the courtnotitied

Robertson thathispetition appeared to be untim ely filed and gave him the opportunity to present

any otherinform ation regarding the tim elinessofhism otion.Robertson has responded and,

based onhisresponse and petition,thecourtfindsthatRobertson'smotion isbarred by the one-

yearstatuteoflimitationsforfilingaj2255motionandthathehasnotdemonstratedany
grounds forequitable tolling. Therefore,the courtdism isseshism otion as untim ely.

                                                1.

       On August26,2010,agrandjuryintheW estem DistrictofVirginiaindictedRobertson
forconspiring to distribute and to possessw ith intentto distribute fifty gram s orm ore ofa

substance containing a detectable am ountofcocaine base in violation of2 1 U .S.C .

jj841(b)(1)(A)and 846 (çûcountOne''),anddistributingfivegramsormoreofasubstance
containingadetectableamountofcocainebaseinviolation of21U.S.C.j841(a)(1)and
(b)(1)(C)(çfcountTwo'').OnSeptember20,2010,pursuanttoawritlenpleaagreement,
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Robertson pled guilty to CountOne ofthe lndictm ent.A spartofthe plea agreem ent,the United

Statesagreed to m ove to dism issCountTw o ofthe lndictm ent. A lso,as partofthe plea

agreement,Robertsonagreedthathewouldwaivehisrighttocollaterallyattackthejudgment
andanypartofhissentenceunderj2255.OnApril12,2011,thecourtsentencedRobertsonto
188 m onthsincarceration as to CountO ne. Robertson did notappeal'
                                                                 ,how ever,he m ailed his

j2255motiontothecourtonJune15,2012.
                                              ll.

       TheAnti-Terrorism andEffectiveDeathPenaltyActof1996(CIAEDPA'')establishesa
mandatoryone-yearstatuteoflimitationsperiodforj2255motionswhich runsfrom thelatestof
the follow ing events:

       (1)thedateonwhich thejudgmentofconvictionbecomesfinal;
       (2)thedateonwhich theimpedimenttomakingamotioncreatedby
       governm entalaction in violation ofthe Constitution orlaw s ofthe U nited States
       isrem oved,ifthe m ovantw as prevented f'rom m aking a m otion by such
       governm entalaction;

       (3)thedateonwhichtherightassertedwasinitiallyrecognizedbytheSupreme
       Court,ifthatrighthasbeen newly recognized by the Suprem e Courtand m ade
       retroactively applicable to cases on collateralreview ;or

       (4)thedateonwhichthefactssupportingtheclaim orclaimspresentedcould
       havebeen discovered tllrough theexerciseofduediligence.

28U.S.C.j2255(9.
       Forpurposesofthe one-yearlim itationsperiod,the defendant'sconviction becom esfinal

when the lastappealistaken orthe tim e to file such an appealexpires.See Clav v.U nited States,

537U.S.522,528(2003).ThecourtenteredRobertson'sjudgmentonApril12,2011.Beeause
Robertson did notappeal,his conviction becam e finalfourteen dayslater,on April26,2011, and

theone-yearstatuteoflimitationsunderj2255ranonApril26,2012.However,Robertsondid
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notm ailhismotion to thecourtuntilJune 15,2012. Accordingly,Robertson'spetition istime-

barred tm lesshe dem onstratesgroundsforcalculating the statute oflim itations from som e date

otherthan thedateon whichthejudgmentofconvictionbecamefinal.
       Thecourtconditionally filed Robertson'smotion,advisinghim thathismotion appeared

tobeuntimelyunderj2255(9 and askinghim topresentany additionalevidenceorargument
concerning the tim elinessofhism otion. ln response,Robertson arguesthatthestatuteof

lim itations should nm notfrom April22,2012,butratherfrom the date the Suprem e Courtofthe

UnitedStateshandeddownitsdecisioninM issouriv.Frve,132S.Ct.1399 (2012),which
Robertson arguescreated anew rightm aderetroactively applicableto caseson collateralreview.

The courtdoes notagree and,consequently,tindsthatRobertson'sm otion is untim ely.

       TheCourtinFrvedidnotpurporttorecognizeanew right.TheCourtnotedthatStgiltis
wellsettledthattherightto the effectiveassistance ofcounselappliesto certain stepsbefore

trial,''includingtheentryofaguiltyplea,Frye,132S.Ct.at1405(citingArcersincerv.Hamlin,
407U.S.25(1972),andthatdiclaimsofineffectiveassistanceofcounselin thepleabargain
contextaregovemedbythetwo-parttestsetforthin Strickland,Id.(citingHillv.Lockhart,474
U.S.52,57(1985)).TheCourtfurthernotedthattheçéapplication ofStricklandtotheinstances
ofan uncomm unicated,lapsedplea doesnothingto alterthe standard laid outin Hil1.''ld.at11.

TheCourtdid notrecognizeanew right;rather,itapplied a long recognized rightto aparticular

setoffacts.1 A ccordingly, the statute oflim itationsapplicable to Robertson'sm otion nm sfrom

the date hisconviction becam e final,notfrom the date ofthe Suprem e Court's decision in Frve.


         1Even iftheCourtdid recor ize a new rightin Frye, Robertson'sargumentforcalculation ofthe
statute oflimitationswould be unavailing. In Frye,the petitioner'sattorney failed to inform him ofeither
pleathathad been offered.Frve,132 S.Ct.at1404.Here,Robertson isnotarguingthathisattorney failed
to presentanoffered plea,butratherthathisattonzeygavehim tçlegaladvicepredicatedon (a)plainly
falseintemretation oflam ''(Pet'r'sM ot.toVacate,SetAside,orCorrectSentence5,ECF No.257),and
itisa2005case,Rompillav.Beard,545U.S.374,383(2005),onwhichRobertson reliesinmakingthat
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                                            111.

      Forthereasonsstated,thecoul'
                                 tdismissesRobertson'sj2255motionasuntimely.The
Clerk ofthe Courtisdirected to send certified copiesofthis m em orandum opinion and

accom panying orderto the petitioner.                                             .    ..<M
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EN TER :July 18,2012.

                                                       UM TED STATES DISTRICT JUDGE




assertion.Robertson alsocitesLaflerv.Cooper,132S.Ct.1376(2012),in hisresponse.(Pet'r'sResp.2,
ECFNo.259.) Latlerisinapposite.ln Lafler,theSupremeCourtexamined whetherineffective
assistanceofcounselthat1edthepetitionertorejectapleadealisnecessarily cleansedby af'u11andfair
trialby ajury,concludingthatitisnot.132 S.Ct.at1383.Here,Robertson did notproceedtotrial.

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